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EXHIBIT 1
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WN,

WHITESTONE

LEGAL GROUP

Services of. The Sands Law Group, LLP
10880 Wilshire Blvd.
Suite 1101
Los Angeles, CA 90024
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WHITESTONE LEGAL GROUP CLIENT RETAINER AGREEMENT

This document is a legally binding agreement confirming that you (“Client”) and Whitestone Legal Group
(“Whitestone”) wish to form an Attorney / Client relationship.

Pursuant to this Agreement’s terms, Whitestone will assist you with the resolution of burdensome debt,
and as such, the Representation contemplated in this Agreement is referred to as a Debt Resolution
Program. In return for Whitestone’s services, you agree to pay specific amounts to Whitestone, as
specified in this Agreement and its enclosures.

Client is retaining Whitestone to help resolve specific debts that Client cannot reasonably satisfy
according to existing terms. These specific debts are listed in this Agreement.

Client must pay as agreed for Whitestone to operate as contemplated in this Agreement. The law firm
puts in place a customized strategy based on the individual client and their debts in order to effectuate
the goals of the law firm’s representation. Following this strategy, Whitestone’s ability to resolve the
proposed debt load is projected to take a number of months and an amount of payments listed in this
document. A variance from this strategy, including Client’s failure to make timely payments, will directly
affect Whitestone’s ability to perform as agreed.

Whitestone holds itself to a standard of minimum results even though Creditors are under no obligation
to negotiate with you, Whitestone, or anyone else. Whitestone takes this risk in exchange for Client’s
promise not to unreasonably withhold consent when presented with offers to settle debts.

The specifics of Whitestone and Client’s responsibilities and expectations with regard to this relationship
are discussed in this Agreement in the following order:

1. | LEGAL SERVICES WHITESTONE PROVIDES

FEES AND COSTS OF SERVICES PROVIDED
WHITESTONE’S PERFORMANCE STANDARD
TERMINATION OF REPRESENTATION

FURTHER IMPORTANT TERMS AND DISCLOSURES
ARBITRATION AGREEMENT

CLASS ACTION WAIVER

NBD WwW SF WN

Following the Attorney / Client Agreement are various notices, disclosures,
schedules, lists, and authorizations related to thisAgreement’s terms. All
enclosed documents are material to Whitestone’s representation of Client, and

are incorporated into this Agreement.
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WHITESTONE LEGAL GROUP

CLIENT RETAINER AGREEMENT

Client Information

CLIENT

Full Name: DOB: | SSN:

Address: | City a | State, Zip Code:
Esse) ia Eb

Home Phone: Cell Phone: Email Address:
nie (_iit ae
| CO-CLIENT

Full Name: DOB: SSN;

Address: ~L CCity State, Zip Code:

Home Phone: Cell Phone: Email Address:

PROPOSED PROGRAM INFORMATION

Total Unsecured Debt:

*Estimated Program Length (months): _

$42,253.64 48
Date of First Payment: Program's Payment Amount:
3/20/2019 $657.46

*Estimated Total Payments:
$31,557.72

Law Firm Contact:

Erica Korn

* - The estimates provided above are just that — good faith estimates. The actual
results vary on a case by case basis. In addition, the accuracy of these estimates
is dependent on the accuracy of the information that you provide, the terms of
the settlements we are able to negotiate with your creditors and on your ability
to save a consistent amount each month.

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WHITESTONE LEGAL GROUP CLIENT RETAINER AGREEMENT
1. LEGAL SERVICES WHITESTONE PROVIDES

Whitestone’s services are performed by a group of professionals, including attorneys, paralegals,
negotiators, assistants, and others. Attorneys directly supervise the activities they do not directly
perform. Whitestone will perform the various services described in this section.

11. Debt Analysis

Whitestone will review Client’s personal hardship and other debt circumstances and formulate a plan to
negotiate improved terms.

1.2. Negotiate and Resolve Client Debt

Whitestone will represent Client in the negotiation and resolution of the unsecured debts listed in the
Creditor List enclosed with this Agreement. Representation related to any debt is governed by the
promises and limitations discussed throughout this Agreement.

1.3. Services Outside Scope of Representation

Whitestone’s services are limited to those specifically listed above. This means that Whitestone will not
provide accounting, financial planning, or tax advice. Whitestone does not engage in credit repair or
credit reporting. Whitestone does not attempt to resolve debts on which a judgment has been obtained.
Bankruptcy services, and defense or prosecution of any debt not listed in this agreement are outside the
scope of representation. Further, Whitestone cannot guarantee that creditor or collector harassment will
cease at any point in the representation. However, under some circumstances, Whitestone may take
appropriate legal action against creditors or collectors engaged in illegal activity.

1.4. Work Performed by Contracted Parties

Whitestone Legal Group may contract work relating to this Agreement to third parties for such tasks
including, but not limited to customer service and debt negotiations. Whitestone attorneys will supervise
all third-party entities to ensure contracted services comply with Whitestone's rules and regulations.

1.5. Litigation Defense

Whitestone will advise and represent Clients in their defense of litigation initiated by creditors or
collectors to recover debts listed in this Agreement. Whitestone attorneys are immediately notified of
litigation, and may be assigned to address any litigation served on Client after the effective date of this
Agreement. Litigation services are further conditioned and limited by other terms of this Agreement,
circumstances of practicality, and jurisdictional rules.
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WHITESTONE LEGAL GROUP

CLIENT RETAINER AGREEMENT

1.6. Litigation Defense: Services / Conditions and Limitations

Creditors and/or debt collectors may file lawsuit(s) against Client in order to collect non-payment of

owed debt(s). Whitestone will provide Litigation Defense Services in the event the client receives a

Summons and Complaint. The Litigation Defense Services will include work done in court and/or

negotiations out of court. Whitestone’s Litigation Defense Services and limitations include:

Services

1. Whitestone will receive, review, and analyze any
summons, complaint, petition, application, or other
operative pleading the client has received.

2. Whitestone will evaluate potential legal defenses to the
Plaintiff creditor's suit.

3. Whitestone will review, analyze, and counsel Client
regarding collection activity and debt restructuring
associated with the litigated debt.

4. Whitestone will engage with the Plaintiff or its hired
legal counsel on Client's behalf to negotiate a
resolution of the litigation.

5. Whitestone’s attorneys may determine that a valid
defense exists to the law suit, or that the suit is
defective in some way favorable to Client. This
determination varies by jurisdiction, current legal
trends, and the personal knowledge of the local
attorney.

6. If Whitestone’s assigned attorney determines that
Client is likely to gain a favorable result through
continued defense of the litigation, he or she will
prepare and file responsive pleadings on the Client's
behalf, appear at subsequent court proceedings, and
continue defense through various stages of litigation,
including trial, if prudent.

=. If Whitestone determines in its sole discretion that it
does not have a good faith basis to assert a defense to
the litigation on Client’s behalf, Whitestone will
communicate this determination to the Client and
discuss alternative potential strategies for resolving the
litigation. In such cases, Whitestone’s strategy may
include, but would not be limited to, engaging in out
of court negotiations directly with the creditor. No fees
for Litigation Defense Services will be charged if
Whitestone determines it cannot provide a defense to
the litigation.

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Conditions and Limitations

All pages of any summons, complaint, exhibits, petitions,
and/or other pleadings served to the client must be
submitted to Whitestone.

All lawsuit paperwork must be submitted to Whitestone
no less than fifteen (15) days prior to the lawsuit response
date, or immediately upon the client's receipt of lawsuit
paperwork.

If the litigation is in a State that permits less than fifteen
(15) days’ notice, all lawsuit paperwork must be submitted
no less than seven (7) days prior to lawsuit response date.

All lawsuit paperwork must be submitted to Whitestone
Legal Group at their fax number 866.489.8045 or email

address cs@whitestonelegalgroup.com.

The "Retainer Fee," outlined in the enclosed Payment and
Fee schedule, must be paid in full, or payments must be
current on any agreed payment plan specific to the
“Retainer Fee” in order for Whitestone to provide
Litigation services.

Whitestone is not required to provide Litigation Services
on any lawsuit of which the Client had knowledge prior
the execution of this Agreement with Whitestone.
Knowledge of a lawsuit is typically determined by service
of process (delivery of a legal complaint to a party being
sued).

Whitestone will not provide Litigation Services related to
debts which are not included in this Agreement, or any
attachments or amendments to this agreement made prior
to Client's knowledge of the lawsuit.
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WHITESTONE LEGAL GROUP CLIENT RETAINER AGREEMENT

1.7. Conditions of this Agreement’s Effectiveness

a This Agreement does not take effect, and Whitestone has no obligation to provide any services,
until both Client and Whitestone have executed a copy of this Agreement and such copy is
delivered to both Parties.

b. Further, this agreement does not take effect until Client has paid the initial payment of the flat
fee retainer as set forth in the payment schedule enclosed, and the payment has cleared.

1.8. Assistance in Dealing with Difficult Creditors

It is important to understand that Whitestone cannot force a creditor to negotiate your debt. Although
Whitestone will not accept a debt into the program from creditors it knows will not negotiate debts,
there are times when a creditor that has negotiated with Whitestone in the past may refuse to negotiate
a debt. In such instances, the Whitestone attorneys or negotiators may require your assistance in
participating in the negotiation process. Whitestone personnel will provide you with the information you
will need in order to contact your creditor directly in an effort to reach a satisfactory settlement. If
Whitestone cannot successfully negotiate a debt for you, even with your assistance, it will refund to you
the portion of your fees associated with that debt.

1.9. Timing and Amount of Settlement Offers:

Whitestone will begin contacting your creditors as soon as we determine that a good faith offer to settle
a given debt, whether on a lump-sum or installment basis, may be made, with such factors as the
creditor's settlement policies, the rate of account accretion, the size of each debt and how close a debt
may be to charge-off. Some creditors prefer that they not be contacted until you have accumulated
sufficient funds in your Dedicated Account to allow a negotiated resolution within their historic norms.
While settlement guidelines differ widely among creditors, an accumulation of 25% of the then-current
balance ofa debt will normally enable us to make a good-faith offer to settle that debt.
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WHITESTONE LEGAL GROUP CLIENT RETAINER AGREEMENT
2. FEES AND COSTS OF SERVICES PROVIDED

Whitestone’s fees are payable according to the following terms. All fees are charged on a flat fee basis
according to the Payment Schedule enclosed with this Agreement. The estimated total fees for
Whitestone’s services are $_13295.19 including the Retainer Fee, Monthly Legal Administration Fees and
Service Costs described below.

2.1. Retainer Fee and Monthly LegalAdministration Fees
a Client will initially pay Whitestone $ 999-99 as a Retainer Fee.

The Retainer Fee shall be paid on a monthly basis over _9 months. The first ___2__ payments
shall be _$150.00_, thereafter payments will be _ $100.00 anda final payment of 95.00

c In addition, Client shall pay an ongoing monthly flat Legal Administration Fee of $89.00
for debt review, debt resolution plan analysis and structuring, supervision of and participation in
creditor negotiations, pre-litigation settlement support, and the Litigation Defense Services
described in Section 1.6 of this Agreement. The estimated total Legal Administration Fee is
$4,272.00 _ based on Whitestone’s estimate that it will take a total of __48 _ months to settle
Client’s debt.

d Client shall be responsible for Legal Administration Fees for all months Client remains active with
Whitestone.

2.2. Service Cost — Related Services

In addition to the legal services provided by Whitestone, there are non-legal services related to the
implementation, management and maintenance of Client’s debt negotiation plan performed under the
supervision of Whitestone’s attorneys. These services are provided at a cost equal to __19% % of
Client’s total scheduled debt (hereinafter referred to as Service Cost). The Service Cost shall be paid by
Client to Whitestone in equal consecutive monthly payments in the amount of $_$364.92__ per month,

totaling $$8,028.19 .

Whitestone has a non-exclusive reciprocal referral agreement with independent contractors to provide
these services under Whitestone's direct supervision. Representatives of such independent contractors
cannot and will not provide any legal advice to the Client, and any such advice will only be communicated
to Client by Whitestone. Although these services are performed under Whitestone’s supervision, a court
or courts might determine that there is no attorney-client relationship between Client and the
independent contractor representatives in regard to these services, and communications between Client
and the independent contractor representatives might not be protected by attorney- client privilege.

2.3. Application Client of Funds

All funds paid by Client will be saved in a Dedicated Account that is owned by Client and held by a third
party dedicated account holder (See Dedicated Account Agreement) for use in making payments toward
any settlements negotiated paying Whitestone’s fees under the terms of this Agreement.

All funds in Client’s Dedicated Account shall remain under Client’s control at all times, and may
be withdrawn by Client at any time without penalty. If Client notifies Whitestone or the third
party dedicated account holder of a request to withdraw their funds, Client shall be entitled to
receive all funds in the Dedicated Account, other than any funds that have previously been

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WHITESTONE LEGAL GROUP CLIENT RETAINER AGREEMENT

earned by Whitestone under the terms of this Agreement, within seven (7) business days of such
request.

It is strongly recommended that Client retain all funds available for settlement payments and fees to
allow Whitestone the greatest ability to effectively represent Client under the terms of this Agreement.

2.4. Method of Payment
Under this Agreement, Client agrees:

a to have Client’s initial flat fee retainer and subsequent fees and costs as outlined above based
on the attached Payment Schedule to be automatically drafted by Client's third party dedicated
account holder from Client’s bank account into an authorized Federal Deposit Insurance
Corporation (“FDIC”) insured bank account held in Client’s name (the “Dedicated Account”) with

Client’s first payment to start on 3/20/2019 , and thereafter each month on the _20th_ day; and

h to have Client’s payments of Service Cost and settlement savings fund payments based on the
attached Payment Schedule to be automatically drafted from Client’s bank account into the

Dedicated Account held in Client’s name with Client’s first payment to start on 3/20/2019
and thereafter each month on the _20th_ day.

2.5. Early Program Completion and Pre-Payment of Program Fees

If Whitestone resolves all debts listed in this Agreement before the scheduled date of Client’s final Service
Cost payment, Client must continue to make all payments for the Service Cost and Retainer outlined in
this Agreement. However, Client will not be responsible for any Legal Administration Fees following the
date that a settlement agreement is entered on the final listed debt. Client can pay off their program early
with no pre-payment penalties.

2.6. Costs of Litigation Services - Court Costs and Trial Preparation Costs

a Client must pay all costs associated with Litigation Services, including the payment of any court
filing fees or any other court-imposed costs associated with the litigation. These costs vary by
jurisdiction. Whitestone will NOT advance such costs. Client acknowledges that failing to timely
pay necessary costs may have adverse consequences, including but not limited to entry of
judgment against Client in the litigation.

h Ifa litigated matter proceeds to trial, Client shall also be required to pay the costs associated with
Whitestone’s trial preparation, which the parties hereby agree in advance shall be set at three
hundred fifty dollars ($350.00) per trial (the “Trial Costs”). Trial Costs commonly include but are
not limited to, photocopying and reproduction costs, notary fees, long distance telephone charges,
messenger and other delivery fees, postage, travel costs including parking, mileage,
transportation, meals, and hotel costs, investigation expenses, and other similar items. The Trial
Costs must be paid sixty (60) days before the scheduled trial date unless otherwise agreed upon
by Whitestone and the Client. The Client shall not be responsible for, and shall be refunded the
Trial Costs if the litigation is settled at least thirty (30) days before the trial date.

2.7. Additional Fees

Client may be responsible for additional processing fees. Such fees may include: Payment Plan Change
Fees ($19.95), Adding/Removing Debts ($25.00), Renegotiation Fee ($299.00), Settlement Payment Fees
($10.00), and Banking Changes ($25.00).
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WHITESTONE LEGAL GROUP CLIENT RETAINER AGREEMENT
2.8. Increases in Balances of Accounts Subject to Representation

a Client acknowledges and agrees that Client will not continue to incur any additional debt on any
accounts subject to this Agreement, other than late fees, interest, and penalties.

b Client’s program fees, program length, and draft amounts may increase due to any additional
balances incurred by Client.
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WHITESTONE LEGAL GROUP

CLIENT RETAINER AGREEMENT

3. WHITESTONE’S PERFORMANCE STANDARD

Whitestone has a set Performance Standard for each debt enrolled in the Debt Resolution Program.

Whitestone sets a target debt reduction of minimally thirty-five percent (35%) of amount owed on the

debt at the time the Agreement is executed. If Whitestone is unable to meet this target debt reduction,
Whitestone will refund the share of all Whitestone fees & costs for work on this individual debt.

341. Terms and _ Conditions
Performance Standard:

Affecting

a. Client must be in complete compliance and
cooperation with Whitestone under the terms of this

agreement.

b. Client's payments must be current under the Service
Cost obligations and cannot default on payments to
Creditors pursuant to settlement of any listed debt.

«. Client may not be entitled to a refund if Client is
unwilling or unable to accept a proposed settlement at
a reduction of thirty-five percent (35%) of enrolled debt
at time that settlement is secured by Whitestone.

d. If Whitestone is unable to settle Client’s listed debts,
the refund shall be calculated on a pro rata basis as to
Service Cost paid per each individual debt.

e. The Performance Standard does NOT apply to any
enrolled debt that becomes subject to a lawsuit during
representation. Client will be required to notify
Whitestone of any lawsuit, at which time the
Performance Standard will cease to apply, and
Litigation Services will commence.

3.2. Performance Standard Does Not Apply
to the Following Types of Debt:
a. Any debt with a balance transfer or cash advance

which occurs within six months of enrollment;

b. Any debt with a balance of less than one-thousand
dollars ($1,000.00) at the time of this Agreement’s
execution;

e, Any debt which is subject to a lawsuit at the time of
this Agreement's execution;

d. Debts being garnished, or subject to voluntary

garnishment are also excluded from this provision;

e. Any debt with a credit union. Whitestone will endeavor to
settle such debts on behalf of Client on the best terms
possible, but cannot guarantee that such settlements will
meet the Performance Standard.

f. Debts that are charged off or written off by a creditor or
become uncollectable, as a result of Whitestone’s strategy,
shall be considered approved settlements. As an approved
settlement, these debts will not be subject to any refund.

g. Client must complete all payments as listed and hereafter
amended in order to provide Whitestone with the
opportunity to settle all enrolled debt on the Creditor
Listing enclosed. Any refund may be disqualified if Client
terminates representation prior to completion of payments
contemplated in this Agreement.

3.3. Bankruptcy and Other Alternatives
Whitestone may discuss alternative legal routes in the event of
changing circumstances on any enrolled debt(s), such as
Chapter 7 & 13 Bankruptcies.

3-4. Should Client Default on Negotiated
Settlement Terms

Whitestone is not required to renegotiate any debts that enter
default after Whitestone has arranged payment terms, and
those terms were agreed to by Client. Client may request
Whitestone renegotiate such debt, and will be subject to an
additional fee of two-hundred-ninety-nine dollars ($299.00)
per renegotiation at the client's expense. Client must also
comply with following terms for renegotiation(s):

a. The Representation Standard provision only applies to the
balance of enrolled debt, not accounting for payments
made on initial settlement prior todefault.

b. Renegotiation may result in the settlement amount

increasing.

Client understands & agrees they are not entitled to any refunds under the Performance Standard

if any of the above terms are not met.

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WHITESTONE LEGAL GROUP CLIENT RETAINER AGREEMENT
4. TERMINATION OF REPRESENTATION

41. Termination by Client

Client may terminate this Agreement at any time, and for any reason. Should Client terminate this Agreement before all
debts subject to the representation are resolved, all savings and unearned fees in Client’s Dedicated Account will be
refunded to the Client.

4.2. Termination by Whitestone

This Agreement may be terminated by Whitestone at any time for good cause, and upon reasonable notice to Client. In
addition, subject to any applicable legal and ethical standards governing Whitestone’s right to withdraw representation,
Whitestone may withdraw from representing Client in any litigation under the terms of this Agreement either with
Client’s consent, or with the permission of the court in which such litigation is pending.

4.3. Definition of “Good Cause” for Termination by Whitestone

a Client’s Failure to Cooperate with Whitestone. Client must cooperate and comply with all reasonable requests by
Whitestone and its agents in connection with the services to be performed under this Agreement, including requests
for information and documentation, responses to settlement offers, and matters related to any litigation. Client
acknowledges and agrees that failure to cooperate with Whitestone is grounds for Whitestone to terminate this
Agreement and/or to withdraw from representation of Client in any litigation associated with the Client’s failure to
cooperate.

bh Failure to Pay Fees and Costs. If Client fails to pay the legal fees and Service Costs required under the terms of this
Agreement, Whitestone may terminate this Agreement and withdraw from representation of Client in any litigation
associated with this Agreement.

c Failure to Pay Costs of Litigation. In the event that Client fails to pay any of the court filing fees or other fees or
costs associated with the litigation of a listed debt, Whitestone will not be responsible for acting in response to the
lawsuit until such time as the fees or costs associated with the filing have been received by Whitestone. Moreover,
Client agrees and acknowledges that the failure to pay the three hundred fifty dollar ($350.00) Trial Costs associated
with a trial in a timely manner shall constitute sufficient grounds for Whitestone to withdraw from representing
Client in connection with the lawsuit.

d_ Failure to Follow Whitestone’s Advice on Reasonable Settlements. Client agrees and acknowledges that
Whitestone has an obligation to Client as both a counselor and as an advocate, and that the underlying purpose of
the Representation is to negotiate settlement of Client’s debts. In the event that Whitestone negotiates a reasonable
settlement offer and advises the Client to accept, Client agrees that he or she shall not unreasonably withhold consent
to accept the offer. Client acknowledges and agrees that it is unreasonable to withhold consent on a settlement offer
when Client has no valid defense to the litigation claims at issue or when the settlement offer is within Whitestone’s
Standard of Performance. If Client refuses to consent to a reasonable settlement offer, Client agrees that Whitestone
may withdraw from representing the Client in any litigation associated with the settlement offer at issue.

4-4. Withdrawal from Representation of Client in Litigation

In the event that Whitestone is entitled to withdraw from any litigation for whatever reason, Client agrees to execute
any documents necessary to effectuate this withdrawal, including, without limitation, the execution of a substitution of
attorney document that relieves Whitestone as counsel in the litigation. If Client fails to execute any necessary
documents, Whitestone may request the court to be relieved as Client’s attorney in that particular matter. Client
acknowledges and agrees that Whitestone’s withdrawal from any specific litigation does not necessarily terminate
Client's entire Agreement with Whitestone for any other litigation or for any other services falling within the scope of
this Agreement. Notwithstanding Whitestone’s withdrawal and without regard to the reasons for the withdrawal, Client
will remain obligated to pay Whitestone for any services performed up to and including when Whitestone delivers its
withdrawal notice to Client or Whitestone receives a court order authorizing its withdrawal.

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WHITESTONE LEGAL GROUP
5. FURTHER IMPORTANT TERMS AND DISCLOSURES

5.1.

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Client’s Responsibilities to Whitestone

In consideration of Whitestone’s experienced
counselling, work out a feasible monthly payment plan
based on the total amount of debt to be modified,
which contemplates all fees and costs to Whitestone
as well as funds to deposit for use in settling debts on
which Whitestone represents Client. The Payment
Schedule is enclosed;

Provide Whitestone with accurate and complete
information relating to any Client’s fmances and the
state of Client's financial hardship as documented in
the attached Hardship and Budget Information
statement.

Provide Whitestone accurate and complete
information and documents relating to any debts
subject to Whitestone’s representation. These
documents must identify each debt by creditor’s name,
current account balances, and account numbers.
Whitestone is under no obligation to verify the

information supplied by Client;

Forward all correspondence from creditors and
collection agencies as soon as possible, but no longer
than five (5) days from receipt;

Make all payments according to the Payment
Schedule;

Refrain from discussing debts with creditors or
collection agencies when contacted;

Notify Whitestone in writing of any settlement offers
you receive, including all of the terms and conditions
of the offer;

Be willing and able to aid in negotiations when
necessary, and understand that your level of
involvement will not affect the terms of this
Agreement, but may affect the speed and effectiveness
of Whitestone’s efforts;

Respond timely to all requests or communications
from Whitestone or its representatives, and promptly
provide Whitestone with any change of address or
other contact information;

Make timely and complete payments on settlements
negotiated by Whitestone and approved by Client.

Client’s Authorizations

Client Authorizes Whitestone to:

d.

To disclose information regarding Client’s financial
condition or status to any creditors and collectors in
connection with effective representation;

To hold itself out as Client’s representative to any party
seeking to collect the debts listed in this Agreement’s
Creditor Listing;

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CLIENT RETAINER AGREEMENT

To engage creditors and collectors to negotiate
reduction of the debts listed in this Agreement’s
Creditor Listing;

To provide Client’s bank account information to the
third party dedicated account holder in order to
facilitate the establishment of the Dedicated Account
for Client. This authority shall remain effective until
cancelled by Client in writing. Client will provide
Whitestone with a voiced check or savings deposit slip
with respect to Client’s bank account.

5.3. Client Acknowledgments

Client Acknowledges and agrees that:

a.

The Payment Schedule is based on previous settlement
averages achieved and calculated by Whitestone.
Accordingly, the actual amount paid into the program
may vary. More or less funding may be required to
settle all represented debts;

The program's contemplated duration is an estimate
based on full and timely payment each month as listed
in the Payment Schedule. Any variation of payments,
as well as many other factors, can affect the length of
the program;

Whitestone will deduct monthly Legal Administration
fees through the duration of Client’s participation in
the debt resolution program;

The success of Whitestone’s representation on any
particular debt may vary based on a number of factors,
including your ongoing ability to make timely deposits
to your Dedicated Account, the willingness of your
creditors to negotiate settlements of your debt and
other factors that are outside Whitestone’s control;

Your participation in the program may result in you
being subject to collections. Creditors may still contact
you regarding debts subject to this Agreement.
However, you should notify Whitestone of
harassment, as there may be steps Whitestone can
take to prevent or rectify illegal harassment:

Any reduction in the amount owed by Client may be
considered a taxable event. You should consult a tax
professional to determine any tax obligations they may
have as a result of any settlements negotiated on their
behalf;

The fees and costs paid to Whitestone are
compensation for the services described in the Scope
of Engagement and the funds deposited into your
Dedicated Account are for the purpose of saving funds
for settling your accounts with creditors. Until you
authorize and approve any such settlements, no
payments of any kind, including any monthly
minimum payments will be made to your creditors on
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WHITESTONE LEGAL GROUP

the accounts, except those that are subject to
Whitestone’s Settlement Pre-Authorization form
which states that Whitestone shall make all reasonable
efforts to obtain your approval for any settlement offer
obtained on your behalf. In the event Whitestone
cannot contact you after making reasonable efforts,
you authorize Whitestone to proceed with any
settlement resulting in a savings of 50% or more of
your debt;

Whitestone will refund the entire portion of any
unused retainer fees for services that have not yet been
rendered in the event you to terminate Whitestone’s
representation;

The amount you owe to your creditors or collectors
may increase due to the accrual of late fees, interest
and penalties on the accounts while enrolled in the
program;

Your participation in the program will likely have an
adverse effect on your credit worthiness and may
result in you being sued by creditors or debt collectors;

You should not incur any new or additional debt and
should refrain from using or obtaining credit during
the Whitestone debt resolution representation. You
understand and agree that all credit cards or lines of
credit shall be closed and that no additional credit
cards or lines of credit should be applied for during the
Whitestone debt resolution representation. You
understand and acknowledge that you may keep credit
cards out the program for emergency purposes only.
These credit cards should not be from the same issuing
bank as any accounts you entered into the Whitestone
debt resolution representation;

No debts listed in this Agreement have been secured
by any personal or real property.

. Active, inactive, or former military personnel
understand that his/her military rank, pay, and/or
benefits may be adversely affected by delinquent debt
accounts and/or a decreased credit rating and
Whitestone Legal shall not be held responsible for any
Negative consequences that may occur by such
personnel by their enrollment into the Debt
Resolution plan.

Individuals with, or who are seeking Security
Clearance, including military members, contractors
and consultants, understand that his or her Security
Clearance may be adversely affected by delinquent
debt accounts and/or a decreased credit rating and
Whitestone Legal shall not be held responsible for any
Negative consequences that may occur by such
personnel by their enrollment into the Debt
Resolution plan.

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CLIENT RETAINER AGREEMENT

Initial Here threats

5.4. Voluntary Participation

Client understands that participation in Whitestone’s
program is voluntary and you may, upon written request,
cancel Whitestone’s services at any time prior to the
original estimated conclusion date of the program.

Client also agrees that:

Early termination may prevent Whitestone from
providing all services outlined herein and Whitestone
will not be responsible for any unresolved accounts
upon cancellation.

In the event of any early termination of this
Agreement, all Service Costs, Legal Administration
Fees, Banking Fees, and Other Fees shall be considered
earned and are non- refundable.

Upon termination of this Agreement, any funds held
in your Dedicated Account, less any amounts paid or
owed in the form of fees and settlement payments,
shall be remitted to you by paper check or ACH
transfer.

Whitestone will not collect any additional fees that
have not previously become due after the termination
date.

With Whitestone’s permission, you may re-enroll
Client Debts after termination. Any re-enrollment
shall be at Whitestone’s sole discretion and is subject
to a Reactivation Fee in the amount of two hundred
ninety-nine dollars ($299.00).

5.5. Skipped Drafts

d.

In the event Client requests to skip a monthly draft,
Client shall notify Whitestone at least five (5) business
days prior to the scheduled draft.

Client will continue to be charged any applicable
monthly Legal Administration service costs, retainer
fees and any banking fees for any skipped months.

An additional month shall be added onto the Client's
program to make up for each month Client skips a
draft.

Whitestone may deny a Skip Request and/or limit the
number of approved Skipped Drafts if Whitestone
determines it is in the client's best interest to continue
drafting Client’s monthly payment. Reasons for
denying a Skip Request may include, but are not
limited to, a resulting inability to negotiate and settle
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WHITESTONE LEGAL GROUP CLIENT RETAINER AGREEMENT

debts, potential acceleration of litigation and the bankruptcy option, including fees and costs, at any
default of active settlements. time that Client’s circumstances change, or Client
requests such consultation. There are no additional
fees required from Client for such consultation and

a. Subject to the terms of the Performance Standard, in preliminary advice regarding bankruptcy.
the event Client’s debts are not fully settled at the end
of the estimated program timeframe, Whitestone will
automatically extend Client’s program and continue to
draft Client's monthly payment unless Client notifies
Whitestone in writing that Client does not wish to
extend representation. Any fees due during the
extension will be reduced by 50%.

5.6. Extension of Representation

c. Consumer credit counseling may have less impact on
a Client’s credit rating than bankruptcy and reduce
interest rates on current debts, but it generally
requires re-payment of most-to-all of Client’s existing
debt and not provide significant monthly payment
relief.

b. Client shall remain responsible for the monthly Legal

Administration Fees during any extended 5.8. Confidentiality of Client Information

representation period.
Whitestone agrees that any information provided by Client

to Whitestone and/or its independent contractors will be

5.7- Additional Disclosures & Disclaimers kept confidential and only be used in providing the
services delineated in Whitestone’s Privacy Policy and in
a, There are other remedies/solutions available for this Agreement, which may include, among other things,
clients to relieve themselves of their debt burdens. disclosure of confidential information to appropriate third
Those remedies include bankruptcy and consumer parties in order to (a) streamline the negotiation process,
credit counseling. and (b) enhance Client’s opportunities for settlement
bh. Declaring bankruptcy may discharge or allow a court- offers with Client’s various creditors Client agrees and
imposed repayment plan for the majority of Client’s acknowledges that such disclosures will be made with
debts. However, this will be reflected as a permanent Client’s express consent and will not require any additional
record on a Client's credit report for up to 10 years. consent or consultation by Client before such disclosures
Whitestone will discuss and advise Client as to the aremade.

5-9. Privacy Policy

Client agrees to receive notices and disclosures regarding Client’s privacy information and rights in
connection with this Agreement, including any future changes to the terms of Whitestone’s Privacy
Policy, by electronic means, including but not limited to by email, by links to the Privacy Policy, and/or
by reviewing current and future updated notices, disclosures and policies posted on Whitestone’s
website.

5.10. Authorization to Obtain Credit Report

Client agrees that Whitestone and its independent contractors may, from time to time during Client’s
engagement with Whitestone, obtain and review Client's credit report as necessary or appropriate to
evaluate Client’s current financial situation and perform the legal services on Client's behalf.

5.1. Entire Agreement

This Agreement is the entire agreement between the parties. All prior negotiations and discussions are
superseded by this Agreement. Whitestone has made no representations other than those expressly set
forth in this Agreement, and neither Party has relied upon any representations or promises other than
those expressly set forth herein.

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WHITESTONE LEGAL GROUP CLIENT RETAINER AGREEMENT
6. ARBITRATION AGREEMENT

Any controversy, claim or dispute between Client, on the one hand, and Whitestone and any of its third-
party service providers, on the other hand, arising out of or relating to this agreement or the breach,
termination, enforcement, performance, interpretation or validity thereof, including any determination
of the scope or applicability of this agreement to arbitrate, shall be determined by arbitration in the
county in which Client lives in accordance with the Federal Arbitration Act pursuant to the substantive
laws of the state of Client’s residence.

Client, on the one hand, and Whitestone and its third-party service providers, on the other hand, agree
that the arbitration shall be administered by the American Arbitration Association ("AAA") or in the
event of its unavailability, an arbitration service with substantially similar rules and arbitrator rosters,
pursuant to its rules and procedures, and a single arbitrator shall be selected to preside by the arbitration
service. Any award rendered by the arbitrator shall be final and shall not be subject to vacation or
modification. Judgment on the award made by the arbitrator may be entered in any court having
jurisdiction. If Client, on the one hand, or Whitestone and any of its third-party service providers, on
the other hand, fails to comply with the arbitrator’s award, the injured party may petition the applicable
court for enforcement.

Any arbitration of any controversy, claim or dispute between Client, on the one hand, and Whitestone
and any of its third-party service providers, on the other hand, will take place on an individual basis
without resort to any form of class or representative action. This class action waiver precludes Client
from participating in or being represented in any class or representative action regarding a
controversy, claim or dispute. Client waives the right to arbitrate any controversy, claim or dispute
between Client, on the one hand, and Whitestone and any of its third-party service providers, on the
other hand, as a class action, either as a member of a class or as a representative.

Client and Whitestone shall share the costs of the arbitration equally up to $1,000, including AAA’s filing,
administration and arbitration fees, but otherwise shall bear their own costs and attorneys’ fees. If the
arbitration costs exceed $1,000, Whitestone will pay Client’s share of costs in excess of $1,000.

Binding arbitration means that both Client and Whitestone give up the right to a trial by a jury
and their rights to have a dispute resolved in a court of law. It also means that both Client and
Whitestone give up the right to appeal from the arbitrator’s ruling except for a narrow range of
issues that can be appealed, that discovery may be severely limited by the arbitrator, and that
certain remedies such as statutory injunctions and fee shifting which may be available in a court
of law may not be available. In addition, under the terms of this Agreement, Client also gives up
the right to bring any claims on a consolidated or class basis in the arbitration.

In the event Client, on the one hand, or Whitestone and any of its third-party service providers, on the
other hand, brings suit against the other party in federal, state or local court instead of proceeding with
arbitration, or unsuccessfully challenges the arbitrator's award, or fails to comply with the arbitrator's
award, the other party is entitled to costs of suit, including reasonable attorneys’ and paralegals’ fees and
costs for having to compel arbitration or defend or enforce the award. The provisions of this Arbitration
Agreement section shall survive any termination of this Agreement

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WHITESTONE LEGAL GROUP CLIENT RETAINER AGREEMENT

PLEASE CONSULT WITH INDEPENDENT LEGAL COUNSEL OF YOUR CHOICE PRIOR TO
SIGNING THIS AGREEMENT AS THE BINDING ARBITRATION REQUIREMENT AND CLASS
ACTION WAIVER CONTAINED HEREIN AFFECT YOUR RIGHTS. PLEASE DO NOT SIGN THIS
AGREEMENT IF YOU DO NOT UNDERSTAND THESE LIMITATIONS,

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Any court trial (whether before a judge or jury) of any controversy, claim or dispute between Client, on
the one hand, and Whitestone and any of its third-party service providers, on the other hand, will take
place on an individual basis without resort to any form of class or representative action). THIS CLASS
ACTION WAIVER PRECLUDES CLIENT FROM PARTICIPATING IN OR BEING REPRESENTED IN ANY
CLASS OR REPRESENTATIVE ACTION REGARDING A CONTROVERSY, CLAIM OR DISPUTE. Client
waives the right to litigate in court any controversy, claim or dispute between Client, on the one hand,
and Whitestone and any of its third-party service providers, on the other hand, as a class action, either
as a member of a class or as a representative, or to act as a private attorney general. The provisions of
this Class Action Waiver section shall survive any termination of this Agreement.

CLASS ACTION WAIVER

PLEASE CONSULT WITH INDEPENDENT LEGAL COUNSEL OF YOUR CHOICE PRIOR TO
SIGNING THIS AGREEMENT AS THE CLASS ACTION WAIVER CONTAINED HEREIN AFFECTS
YOUR RIGHTS. PLEASE DO NOT SIGN THIS AGREEMENT IF YOU DO NOT UNDERSTAND
THESE LIMITATIONS.

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WHITESTONE LEGAL GROUP CLIENT RETAINER AGREEMENT

I represent that I have read, understand and agree to be bound by the terms of this Client
Representation Agreement as set forth above and in the documents incorporated in this
Agreement. I further acknowledge that the terms and conditions of this Agreement have been
explained to my satisfaction by a representative of Whitestone and that I have no unanswered
questions about the program or this Agreement. I confirm that I agree to arbitrate any claims
and to waive any right to bring or participate in a class action against Whitestone.

Agreed to this day of , 20

Sign Here

Signature of Client

Sign Here

Signature of Co-Client

Signature of Whitestone

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WHITESTONE LEGAL GROUP NOTICE OF RIGHT TO CANCEL
Notice of Right to Cancel

Date of Transaction: 3/7/2019

You may CANCEL this transaction, without Penalty or Obligation, including any agreements you signed
at the in-person meeting with the Whitestone attorney and/or paralegal, for up to FIVE BUSINESS DAYS
from the above date. If you cancel, you will not be obligated to make any payments to the law firm and
any agreements or other documents that you signed will be null and void. To cancel this transaction,
mail or deliver a signed and dated copy of this Cancellation Notice or any other written notice to the

address below NOT LATER THAN MIDNIGHT OF (five business days

after the Date of Transaction).
I HEREBY CANCEL THIS TRANSACTION.

Date:

Client’s Signature:

Co-Client’s Signature:

Please send to:

Whitestone Legal Group, LLP
10880 Wilshire Blvd.
Suite 1101
Los Angeles, CA 90024

(Sign and return this document only if you decide to CANCEL this transaction within five
business days of the Date of Transaction shown above.)
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WHITESTONE LEGAL GROUP SETTLEMENT AUTHORIZATION

Client’s Authorization for Settlement

Whitestone shall make all reasonable efforts* to obtain Client’s approval for any settlement offer obtained
on Client’s behalf. In the event Whitestone, cannot contact Client after making reasonable efforts, Client
authorizes Whitestone to proceed with any settlement resulting in a savings of 50% or more of the
Client’s debt at the time of settlement.

Furthermore, I/we direct Global Client Solutions to release the funds from my/our Special Purpose
Savings Account to the creditor, per the terms of a settlement agreement negotiated in accordance with
the terms of this authorization.

ae i upon written notice to Whitestone

Signature of Client Date

Signature of Co-Client Date

*Reasonable efforts can include phone call(s), email(s), fax(es), and standard mail.

**Client can revoke such authorization at any time before any settlement payments are processed.
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WHITESTONE LEGAL GROUP

CREDITOR LISTING

Creditor Listing
Creditor / Collection Account Number Balance Account Holder(s) Last Payment Date
Agency

| $6,937.00 Applicant
iii —n $7,744.00 Applicant
— mum | 14.46000 Applicant

— 872
a = $12,240.00 Applicant

Total Debt Owed: | $42,253.64

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WHITESTONE LEGAL GROUP

PAYMENT SCHEDULE

Total Amount of Debt | $42,253.64 Estimated Settlements: | $17,746.53
Service Cost Percentage 19%

Estimated Total Fees & Settlements, $31,557.72 TOTAL ESTIMATED SAVINGS | $10,695.92
Month in |Retainer Fee|Service Cost; Settlement [Legal Admin| Banking | Total Draft | Draft Due
Program Reserves Fee Fees Date

1 $150.00 $364.92 $42.79 $89.00 $10.75 S657 46 3/20/2019
2 $150.00 $364.92 $42.79 $89.00 $10.75 $657 46 4/20/2019
3 $100.00 $364.92 $92.79 $89.00 $10.75 $657.46 5/20/2019
4 $100.00 $354.92 $92.79 $89.00 $10.75 $657.46 6/20/2019
5 $100.00 $364.92 $92.79 $89.00 $10.75 $657 46 7/20/2019
6 $100.00 $364.92 $92.79 $89.00 $10.75 $657.46 8/20/2019
7 $100.00 $364.92 $90 79 $89.00 $10.75 $657.46 9/20/2019
3 $100.00 $364.92 $90.79 $89.00 $10.75 $657.46 10/20/2019
9 $95.00 $364.92 $97.79 $89.00 $10.75 $657 46 11/20/2019
10 $364.92 $192.79 $89.00 $10.75 $657 46 12/20/2019
ul $364.92 $192.79 $89.00 $10.75 $657.46 1/20/2020
2 $364.99 $192.79 $89.00 $10.75 $657.46 2202020
B $364.92 $192.79 $89.00 $10.75 $657.46 3720/2020
4 $364.92 $192.79 $89.00 $10.75 $657.46 aran2020
15 $364.92 $192.79 $89.00 $10.75 $657.46 6/20/2020
16 $364.92 $192.79 $89.00 $10.75 $657.46 aA20e0
i7 $364.92 $192.79 $89.00 $10.75 $657.46 Tav2020
18 $364.92 $192.79 $89.00 $10.75 $657.46 8/20/2020
19 $364.92 $192.79 $89.00 $10.75 $657.46 SAN2020
20 $364.92 $192.79 $89.00 $10.75 $657.46 10/20/2020
H $364.92 $192.79 $89.00 $10.75 $657 46 11/20/2020
22 $364.87 $192.84 $89.00 $10.75 $657.46 12/20/2020
13 $557.71 $89.00 $10.75 $657.46 v20e024
24 $557.71 $89.00 $10.75 $657.46 2/20/2021
25 $557.71 $89.00 $10.75 $657.46 20/2021
26 $557.71 $89.00 $10.75 $657 46 4/20/2021
27 $557.71 $89.00 $10.75 $657.46 Sve0202 1
28 $557.71 $89.00 $10.75 $657.46 6/20/2021
29 $557.71 $89.00 $10.75 $657.46 We2024
30 $557.71 $89.00 $10.75 $657 46 9/20/2021
3 $557.71 $89.00 $10.75 $657.46 9/20/2021
32 $557.71 $89.00 $10.75 $657.46 10/20/2021
3 $557.71 $89.00 $10.75 $657.46 11/20/2021
34 $557.71 $89.00 $10.75 $657.46 12/20/2021
35 $557.71 $89.00 $10.75 $657.46 wenen22
36 $557.71 $89.00 $10.75 $657.46 avI022
37 $557.71 $89.00 $10.75 $657.46 wav2022
38 $557.71 $89.00 $10.75 $657.46 A202?
39 $557 71 $89.00 $10.75 $657.46 6/20/2022
40 S557 71 $89.00 $10.75 $657.46 6/20/2022
41 $557.71 $89.00 $10.75 $657.46 Tiawon22
42 $557.71 $89.00 $10.75 $657.46 8/20/2022
3 $557.71 $89.00 $10.75 $657.46 9/20/2022
44 $557.71 $89.00 $10.75 $657.46 10/20/2022
45 $557.71 $89.00 $10.75 $657 46 14/20/2022
46 $557.71 $89.00 $10.75 $657.46 42/20/2022
47 $557.71 $89.00 $10.75 $657.46 1/20/2023
48 $557.35 $89.00 $10.75 $657.10 2/20/2023
49
50
51
52
Settlement Reserves above is only an estimate of the amount needed for settlement.
Client Signature _< Sign Here Co-Client Signature _& Sign Here
Print Name ~~ Print Name ~

D

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WHITESTONE LEGAL GROUP ELECTRONIC COMMUNICATION VERIFICATION

Electronic Communication Verification

Please print your email address on the line below:

You will receive an email of the Letter of Engagement and other documents executed today in the next
three (3) business days. In case you do not receive an emailed copy, due to faulty address or lack of email
address provided above, you will still receive copies of these documents with your Welcome Package.
The Welcome Package will be mailed to you once your first payment has cleared.

Please initial here to indicate you understand the above terms of email delivery:

Initial Here > Toitate

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WHITESTONE LEGAL GROUP HARDSHIP AND BUDGET INFORMATION
Hardship and Budget Information

Reason for Hardship
Temporary Loss of Work Company Reduced Hours
Loss of Job Pay Cut
Medical Problems Disability
Personal Injury Loss of Spouses Income
Divorce @ Other:

Please Briefly Explain Hardship: _

BUDGET ANALYSIS (All information should be on a monthly basis)
Client Net Monthly Income 5 6.666.67 Funds Available $ 3,990.00
Co-Client Net Monthly Income 5 0.00
Total Income PECS067

Mortgage/Rent Household Items
1,874.00
Home Owners Insurance , Clothing :
$ $

Life Insurance Laundry/Dry Cleaning

$ $
Medical Care Utilities

$ $
Child Care / Support / Alimony Telephone

$ $
Cable TV / Satellite Auto Loans

$ $ 675.00
Charity / Donations Auto Other

$ $ 45.00
Entertainment Auto Insurance

$ $ 83.00
Gym / Health $ Education $0
Personal Care $ Student Loans $
Back Taxes $ Misc. / Other §

Total Expenses

Food $ $ 2,677.00

By executing this agreement, you are representing that you have considered these other options and further, that
you have provided us with accurate information, including your financial information and the state of your
financial hardship as documented in your hardship statement.

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WHITESTONE LEGAL GROUP

BANKRUPTCY VS. DEBT NEGOTIATION

Bankruptcy vs Debt Negotiation and Election of Services

Bankruptcy and Debt Negotiation

Whitestone is a full-service debt resolution law firm
which provides services including debt negotiation
and restructuring and bankruptcy services. The
following provides information about these
approaches to debt resolution for your review. Clients
should fully understand the advantages and
disadvantages of each to make an informed decision.

Bankruptcy

Bankruptcy will usually discharge your unsecured
debt and your creditors are not permitted to contact
you once you have filed with the court. There are two
kinds of bankruptcy: Chapter 13 bankruptcy where
you are generally able to keep property that is
mortgaged, such as your house or car, and are
expected to repay debts in three to five years, and
Chapter 7 bankruptcy where you must give up all
non-exempt property and assets that you own in
exchange for a discharge of most debt. Bankruptcy
may be appropriate if you have pending foreclosures,
collection litigation or wage garnishments; however,
you will generally be unable to establish credit for up
to ten years. In 2005, the bankruptcy law was changed
to make it more difficult for some consumers to file
Chapter 7 bankruptcy based on a financial means test
and credit counseling requirements that may require
a repayment of some of your debt.

Whitestone is a debt relief agency under the United
States Bankruptcy Code Sections 527 (a) and (b), and
we are required to provide the following information
and notice:

A debt relief agency providing bankruptcy assistance
to an assisted person shall provide—

(1) The written notice required under section
342(b) (1); and

(2) To the extent not covered in the written
notice described in paragraph (1), and not later than
3 business days after the first date on which a debt
relief agency first offers to provide any bankruptcy
assistance services to an assisted person, a clear and
conspicuous written notice advising assisted persons
that—

(A) All information that the assisted person is

required to provide with a petition and thereafter
during a case under this title is required to be
complete, accurate, and truthful;

(B) All assets and all liabilities are required to be
completely and accurately disclosed in the
documents filed to commence the case, and the
replacement value of each asset as defined in section
506 must be stated in those documents where
requested after reasonable inquiry to establish such
value;

(C) Current monthly income, the amounts
specified in section 707(b) (2), and, in a case under
chapter 13 of this title, disposable income
(determined in accordance with section 707(b) (2)),
are required to be stated after reasonable inquiry; and

(D) Information that an assisted person
provides during their case may be audited pursuant
to this title, and that failure to provide such
information may result in dismissal of the case under
this title or other sanction, including a criminal
sanction.

IMPORTANT INFORMATION ABOUT
BANKRUPTCY ASSISTANCE SERVICES FROM AN
ATTORNEY OR BANKRUPTCY PETITION
PREPARER

If you decide to seek bankruptcy relief, you can
represent yourself, you can hire an attorney to
represent you, or you can get help in some localities
from a bankruptcy petition preparer who is not an
attorney. THE LAW REQUIRES AN ATTORNEY OR
BANKRUPTCY PETITION PREPARER TO GIVE YOU
A WRITTEN CONTRACT SPECIFYING WHAT THE
ATTORNEY OR BANKRUPTCY PETITION
PREPARER WILL DO FOR YOU AND HOW MUCH
IT WILL COST. Ask to see the contract before you
hire anyone.

The following information will help you to
understand what must be done in a routine
bankruptcy case and will help you to evaluate how
much assistance you may need. Although bankruptcy
can be complex, many cases are routine.

Before filing a bankruptcy case, either you or your
attorney should analyze your eligibility for different
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WHITESTONE LEGAL GROUP

forms of debt relief available under the Bankruptcy
Code and which form of relief is most likely to be
beneficial for you. Be sure you understand the relief
you can obtain and its limitations. To file a
bankruptcy case, documents called a Petition,
Schedules and Statement of Financial Affairs, as well
as in some cases a Statement of Intention need to be
prepared correctly and filed with the bankruptcy
court. You will have to pay a filing fee to the
bankruptcy court. Once your case starts, you will
have to attend the required first meeting of creditors
where you may be questioned by a court official
called a ‘trustee’ and by creditors.

If you choose to file a chapter 7 case, you may be
asked by a creditor to reaffirm a debt. You may want
help deciding whether to do so. A creditor is not
permitted to coerce you into reaffirming your debts.

If you choose to file a chapter 13 case in which you
repay your creditors what you can afford over 3 to 5
years, you may also want help with the preparation of
your chapter 13 plan and with the confirmation
hearing on your plan which will take place before a
bankruptcy judge.

If you select another type of relief under the
Bankruptcy Code (other than chapter 7 or chapter 13),
you will want to find out what should be done from
someone familiar with that type of relief.

Your bankruptcy case may also involve litigation. You
are generally permitted to represent yourself in
litigation in bankruptcy court, but only attorneys, not
bankruptcy petition preparers, can give you legal
advice.

BANKRUPTCY VS. DEBT NEGOTIATION

Debt Negotiation

Debt Negotiation is a process where the law firm,
based on your specific circumstances, develops a plan
to manage your debt resolution with your creditors.
In general terms, it is a process of negotiating with
your creditors for a lower balance or forgiveness of
debt, a reduced interest rate, a reduced monthly
payment or other restructuring alternatives. To be
successful in debt negotiation, you need to have
sufficient cash flow to meet your living expenses each
month and provide some funds towards resolution of
your debt.

If appropriate for your situation, Whitestone will
contact your unsecured creditors in writing to notify
them that you are represented by the law firm and
that we are advising you as to all alternatives for debt
resolution. As you have indicated in your compliance
review, you prefer Whitestone to attempt debt
negotiation as an alternative to bankruptcy or other
options. However, if your financial circumstances
change, we will advise you as to other debt resolution
alternatives, including those outlined above, so you
can make an informed decision based on our advice.

If you have any questions regarding the above
options, please contact us for further explanation. If
you are ready to proceed, sign below your
acknowledgement that you have reviewed the
available debt resolution options and have
determined that debt negotiation by Whitestone is
your preference, subject to your ability to request a
different alternative if your circumstances change in
the future.

Ihave reviewed all debt resolution options available to me including doing nothing, filing for bankruptcy
and consumer credit counseling, and elect to pursue debt negotiation services with Whitestone, subject
to my ability to request other alternatives, based on changes in my financial circumstances.

Sign Here

Signature of Client

Date

Signature of Co-Client

Date
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WHITESTONE LEGAL GROUP CREDIT UNION DISCLAIMER

Disclaimer — Settlement of Credit Union Accounts

This confirms my/our understanding and acknowledgement that, in the experience of Whitestone, credit
union debt accounts are often resolved for higher settlement amounts, meaning that such debts may cost
me/us more to settle and result in smaller reductions from the debt amounts at the time of enrollment.
For this reason, credit union debt accounts are excluded from Whitestone’s Performance Standard in
Section 2 of the Agreement and Whitestone provides no assurance that such debts will be settled for any
amount.

I/we acknowledge that my current credit union account(s) that are to be enrolled into the program are
NOT cross-collateralized with any other credit union obligation(s). I/we understand that in the event it
is later determined that any enrolled credit union account is cross-collateralized with any other credit
union obligation that any enrolled credit union account(s) would be removed from the program and
become my sole obligation to be resolve in the manner I seefit.

Further, I/we acknowledge that Whitestone would thereby have no obligations to represent me regarding
these accounts whether ongoing or in the future.

Client Signature N Co-Client Signature NI

Client Name Date Co-Client Name Date

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WHITESTONE LEGAL GROUP STUDENT LOAN DISCLAIMER

Disclaimer — Settlement of Private Student Loan Accounts

This confirms my/our understanding and acknowledgement that, in Whitestone Legal Group’s experience, private
student loan accounts may cost me/us more to settle and result in a smaller reduction from the debts at the time of
enrollment. For this reason, private student loan accounts are excluded from Whitestone Legal Group Performance
Standard in Section 2 of the Agreement and Whitestone Legal Group provides no assurance that such debts will
be settled for any amount. I/we acknowledge that my private student loan account(s) that are to be enrolled into
the program are NOT cross-collateralized with any other obligations with the same lending institution, are
unsecured, and are not federally-backed loans. I/we understand that in the event it is later determined that any
enrolled private student loan account does not meet the criteria above, Whitestone Legal Group shall have the
right to remove such account from the program and the removed account shall become my sole obligation to be
resolved in the manner I see fit. I/we acknowledge that Whitestone Legal Group would thereby have no obligations
to represent me regarding any removed accounts whether ongoing or in the future.

Furthermore, I/we understand private student loan accounts tend to have significantly higher average enrolled
balances than those of traditional unsecured credit obligations. Accordingly, I/we understand that private student
loan accounts may require a longer period of time to resolve when compared to my/our other enrolled accounts.

Client Signature | Co-Client Signature “EN

Client Name Date Co-Client Name Date

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WHITESTONE LEGAL GROUP COMMUNICATION AUTHORIZATION

AUTHORIZATION TO COMMUNICATE AND NEGOTIATE WITH
CREDITORS AND COLLECTION AGENCIES

I (We) authorize Whitestone Legal Group. (“LAW FIRM”) including its agents and representatives, to
take the following actions:

1. Communicate with my (our) creditors, including but not limited to any agent, representative or third-
party collection agency or law firm, and discuss any and all details of my (our) financial situation, all for
the purpose of negotiating settlements of my (our) debt obligations; and

2. Obtain records, debt validations, credit reports and support for the debts allegedly owed on my (our)
behalf.

I (we) affirm that all of the information that I (we) have or will provide to LAW FIRM is accurate, timely
and correct. I expressly acknowledge that 1) LAW FIRM is a law firm that has been retained to provide
me with legal advice and/or representation,

The recipient of this Authorization, whether by original, photo copy, facsimile or electronic copy is
specifically authorized and instructed by the undersigned party(ies) to contact or receive
communications from LAW FIRM or employees, regarding any of the purposes listed herein.

Client Nan: i Co-Client Name:

Date: Date:

SSN#: SSN#:

Signature: ae! Here Signature: Sign Here

“ oo

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WHITESTONE LEGAL GROUP POWER OF ATTORNEY

Power of Attorney
1/We,___ ae
Located at___ ;
In the City ft Em , State of _ Zip ll

hereby appoint the Whitestone Legal Group(“Whitestone”) as my/our attorney-at-law to do the acts described in this Power
of Attorney. Whitestone (and/or its designees) is hereby authorized to act as my/our attorney and to fully represent me/us in
any litigation or negotiation of the modification, reduction, settlement, and payment on any and all debts allegedly due and
owning in my/our name. Litigation representation includes attendance at required court hearings, if applicable.

I/We authorize Whitestone to request and receive confidential credit and account information from creditors, credit bureaus,
collection agencies, creditor attorneys, or any other third parties who may be in possession of such information and would be
viewed by me/us personally.

This Power of Attorney revokes all earlier Power of Attorney given by, or on behalf of, me/us relating to all communications
of creditors’ claims and shall be effective and binding on me/us until revoked by an instrument in writing executed by me/us.
I/We further authorize Whitestone to release a copy of this Power of Attorney to my/our creditors or their agents. A copy of
this Power of Attorney shall be deemed as effective as an original.

Executed on
Client Signature ? Client Social Security Number
Sign Here
Co-Client Signature 7 Co-Client Social Security Number
State of. County of
The foregoing instrument was acknowledged by me this day of , 20
by: who is/are personally known by me or who has/have
produced: as identification and who did not take an oath.
Notary Public; |
SSS

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WHITESTONE LEGAL GROUP AFFIDAVIT OF COMPLIANCE
Affidavit of Compliance

1, as representative affiliated with and under contract to Whitestone Legal Group, The
Sands Law Group, LLP, in my role as a Member, Partner, tractor of Whitestone, confirm that I have conducted
a personal and face-to-face presentation with eel (Client's Full Legal Name) to review
Client's file and present all relevant information regarding Whitestone’s representation of Client, as it relates to Whitestone’s Client Retainer
Agreement to provide legal representation on behalf of Client, including debt resolution and financial workout services. I confirm that
Client has executed the Client Retainer Agreement on this date and such execution has taken place in my presence following my in-person
meeting with Client. This Affidavit of Compliance establishes a written record to verify compliance with any and all applicable local, state

or federal Jaws or regulations (collectively the “Applicable Laws”), including, but not limited, to the Telemarketing and Consumer Fraud
and Abuse Prevention Act, 15 U.S.C. 6101-08, and the Telemarketing Sales Rule, as amended, 16 C.F.R. Part 310; 75 Fed. Reg. 48458, 48522.

The following subjects were reviewed with Client in writing and, where appropriate, orally or in response to questions regarding such

representation:

1) That debt resolution which alters the terms of payment of unsecured debt might have a negative effect on Client's credit and that
Whitestone does not clean up, fix, or repair credit. The program may also result in Client being subject to collections or sued by
creditors or debt collectors and may increase the amount of money the customer owes due to the accrual of fees and interest.

2) That the scope of Whitestone’s representation of Client is specifically limited to the following:

a. Determine which specific debt resolution option is most appropriate for Client, including an initial review of their budget,
income and debt;

b. Review Client’s current unsecured debt burden and thereafter negotiate and attempt to negotiate settlements with Client’s
creditors in an effort to modify or restructure Client's current unsecured debt;

C. Provide litigation defense as outlined in the Letter of Engagement.

3) A full review of all fees and costs associated with the representation of the Client.

4) That Whitestone maintains a Performance Guarantee for each individual account entered by Client into the Whitestone debt resolution
plan, of a minimum of settlement debt reduction of thirty-five percent (35%) of the debt's face value at the time of settlement, including
interest, penalties, cost and late fees, as outlined further in the Terms and Conditions of the Engagement Letter. In the event that
Whitestone does not meet this minimum standard for a particular account, it shall refund the pro rata share of all fees and costs paid
to Whitestone for such work and Whitestone shall settle that individual account for Client at no additional cost. Exceptions to the
minimum Performance Standard include: client skipping or defaulting on plan and/or settlement payments, Client’s failure to accept
a proposed settlement of at least a thirty-five percent (35%) reduction of an enrolled debt, any enrolled debts that become subject to a
lawsuit during representation, any debts with a balance transfer or cash advance within six months of enrollment, any debts with a
balance of less than $1,000 at time of this Agreements execution, any debts with a credit union and any debt being garnished or subject
to voluntary garnishment.

5) Client has been advised that the attorney or paralegal who conducted the initial meeting with Client limits their scope of representation
or presentation to that initial meeting and review of the Client’s file. The Client was made aware that the actual supervising attorney
for their file may be a different attorney of the law firm who is licensed in their state.

6) A full review of the arbitration provision, including the fact that, by electing to go to arbitration, both parties are waiving certain rights,
including the right to a trial in a court oflaw.

7) Client has been advised of and given an opportunity to review Whitestone’s Privacy Policy.

Names of all attendees:

Start Time: End Time:

Location of Meeting:

Have any materials been provided or presented to the attendees in addition to the Enrollment Documents, the Face to Face Script, and the
Face to Face Power Point Presentation? NO YES (Circle One}

If so, indicate here and scan/upload all such additional documents or materials:

I affirm the above statements are true and accurate.

Executed on this Date:
Representative on behalf of Whitestone:

Name:
Signature;

I affirm the above statements are true and accurate.

Client Name: IS sicnature:

Sign Here

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WHITESTONE LEGAL GROUP ACCOUNT INFORMATION AUTHORIZATION
Account Information Authorization

] authorize Whitestone or its designee to provide my bank account information set forth below to the third party dedicated
account holder in order to facilitate the establishment of my Dedicated Account.

Name on Account (Please Print): ‘seg

Bank Name:

Bank Address:

City: St: Zip:

Bank Phone #:

**Routing # | | | | | |__| Account # = =

*Routing numbers are always 9 digits long and always start with o, 1, 2, or 3.

Authorized Signature on Account Printed Name Date

Attach Voided Check or Savings Deposit Slip Here

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ACCOUNT SERVICING AGREEMENT
This Agreement sets forth the terms of the account management services offered to you by Reliant Account Management, LLC, Reliant Account Management Systems, both
California limited liability companies.

RAM is in the business of processing payments to and from a trust account (including electronic and automatic transfers}, making disbursements as directed, and providing on-
line transaction and accounting information related thereto (collectively “Services”), for the users of debt settlement companies. RAM is not an owner, employee, or partner of

any debt settlement company, and provides the Services to Customer as an independent third party.

APPOINTMENT

Customer authorizes RAM to collect and deposit payments customer has agreed to make with Whitestone. (the “DSC”}, and to initiate transfers from Customer’s account indicated
below at the depository financial institution named below, and to deposit and hold Customer's funds in a trust account established and serviced by RAM. Customer agrees the
trust account is non-interest bearing and may be located in California or any other state of RAM’s choice. Customer agrees that RAM will disburse from Customer's funds the
then current service fees as stated below, and those of the DSC. Further, Customer agrees that RAM will disburse Customer's funds to pay Customer's creditors upon receipt of
settlement instructions from the Customer or Customer's DSC. Customer may decline any disbursement to a creditor by notice three business days before the scheduled
settlement payment. If Customer fails to notify RAM within that time, the disbursement will be automatically approved and RAM will make the settlement payment. If Customer
declines to disburse such settlement to the creditor, Customer understands that it may have changed their debt settlement agreement with Customer's DSC. Customer may
revoke this Appointment with a minimum of 5 banking days notice to RAM in the manner set forth below. Customer acknowledges that the origination of Automatic Clearing
House (ACH) transactions to my account must comply with the provisions of U.S. law.

TRANSACTION, ACCOUNT INFORMATION, AND COMMUNICATIONS

Customer will be provided internet access to Customer’s account and transaction information. Customer agrees that disclosures, accounting and transaction statements,
disbursement verification, and any other communications may be distributed by electronic mail or through RAM’S website at www.RumServicing.com.. Customer acknowledges
that Customer is able to electronically receive, download, and print such information and communications, unless Customer and RAM agree otherwise. If Customer is unable to
communicate electronically, Customer will notify RAM and reasonable alternative means of communication will be established. Customer may provide notice to RAM at Reliant
Account Management, LLC, P.O. Box 337, EAST IRVINE, CA 92650-0337 or fax at 949-859-1186.

SERVICE FEES
Customer authorizes RAM to charge the following fees for services rendered:
* Monthly Fee - $10.75

Other charges as applicable
* Settlement Disbursement Fee (Overnight to Creditor/Pay By Phone) $10.00 ($3.00 which goes to RAM and $7.00 which goes to Whitestone Legal Group]
* NSF/Return Item $25.00 ($5.00 which goes to RAM and $20.00 which goes to Whitestone Legal Group)

MISCELLANEOUS
Customer agrees to indemnify and hold harmless, Ram, its officers, directors, agents, and employees, from any and all claims, demands, and damages arising out of a dispute
between Customer and Whitestone Legal Group or creditors.

DISPUTES

Customer hereby agrees that any dispute arising between or among the parties shall be heard before a certified mediator with venue exclusively located in
Orange County, California. Mediation may be attended telephonically or in person. In the event there is no resolution through mediation, any claim or dispute shall
be submitted to arbitration with venue in Orange County, California and conducted in accordance with the commercial rules of the American Arbitration
Association. Judgment upon any award may be entered into any court having jurisdiction. This AGREEMENT shall be governed by and interpreted in

accordance with the Laws of the State of California. However, in the event of any litigation, venue shall be exclusively in Orange County, California, without
reference of the rules of conflicts of laws there under, irrespective of the place of residence, or domicile, or business of the Parties hereto

Customer understands that RAM may share information with its depository institutions, its affiliates, and with any other party

legally entitled to facilitate the transactions contemplated by this Agreement.

Customer authorizes RAM to initiate Automatic Clearing House (ACH) debits from my designated bank account as set forth below. | authorize RAM to debit my
designated bank account according to the schedule of debits provided to RAM by me or on my behalf or as otherwise provided by agreement. Customer

agrees that sufficient funds will be available in my designated account at least three (3) business days prior to the date of debit transfer, RAM is not liable to

any person for not completing a transaction as a result of any limit on my designated bank account, or if a financial institution fails to honor any debit from such
account. Customer agrees to notify RAM immediately if a scheduled debit will not or does not occur. Customer authorizes RAM to recover funds in the event of an
error in the event that a prior debit is returned for any reason, including non-sufficient funds,

AUTHORIZATION AGREEMENT FOR DIRECT DEPOSITS (ACH DEBITS)

| (we) hereby authorize RAM, to initiate debit entries to my (our) Checking Account / Savings Account (select one) indicated below at the depository financial
institution named below, hereafter called DEPOSITORY. and to debit the same to such account. | (we) acknowledge that the origination of ACH transactions to my
(our) account must comply with the provisions of U.S. law.

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This authorization is to remain in full force and effect until RAM has received written notification from me (or either of us) of its termination no fewer than three (3)
days to afford COMPANY and DEPOSITORY a reasonable opportunity to act on it, or until the schedule of debits is completed.

|| Customer One

Name Date of Birth
Street Phone Number
Address
ay | ste Zp eMail Address
| Customer Two
Name Date of Birth
Street Phone Number
Address
City State Zip eMail Address
I Banking Information
$657.46
Bank Name First Draft Amount
_ 3/20/2019
ily Siate Zip First Draft Date
Bank Name Haven EE) ee
SOUR CITY, SeATE, Zur ae 7
Bank Routing Number pe pate i r s
(e.g. nine-digit ABA number) GROEN OF a ot
Tip= Your bank may have a separate routing number for ACH ai Te Wh
transactions. Please verify the routing number with your financial F
institution to prevent delays. sSyeetea IerrTuT
Bank Account Number re

Type of Account (please check one) CL] Checking (1) Savings

Bank Account Hokiers Name I

Note» RAM may run a test of the ACH process (i.e. pre note) to be sure it is working properly. You may see a transaction on the account with a $0 charge.
Tam the authorized signer, or otherwise have authority to act, this funding authorization on the account identified above.

BL234587892 GAPESGFza" 30%

}

:

1 Routing Number ls Account Numberl!® Check Number

Customer One Signature

Customer Two Signature

